                Case 5:20-cv-00460 Document 1 Filed 04/13/20 Page 1 of 5




                                  In the United States District Court
                                   for the Western District of Texas
                                         San Antonio Division

Estate of Amelia H. Macias, et al,                 §
        Plaintiffs                                 §
                                                   §
v.                                                 §    Civil Action No. 5:20-cv-460
                                                   §
Texas Dept. of Adult Protective Serv., et al.      §
      Defendants.                                  §    Jury

                                   Defendants’ Notice of Removal

          Defendants Texas Department of Public Safety, Veronica Gideon, Elias Escalon, Nathan

Mutz, and Drew Pilkington file this Notice of Removal of the above styled cause of action.

          Defendants Texas Department of Public Safety, Veronica Gideon, Elias Escalon, Nathan

Mutz, and Drew Pilkington, remove this case pursuant to 28 U.S.C. § 1441. This case was

originally filed in the 407th Judicial District Court of Bexar County, Texas on February 21, 2020,

as Cause No. 2020CI03676. Defendant Texas Department of Public Safety was served March 20,

2020. Defendant Gideon was served March 27, 2020. Defendant Escalon was served March 18,

2020. Defendants Mutz and Pilkington were served March 21, 2020. Therefore, this removal is

timely.

          The address of the 407th Judicial District Court of Bexar County is 100 Dolorosa, San

Antonio, Texas 78205.

          Plaintiffs brought this civil action in state court against Defendants alleging the violation

of denial of the United States Constitution. This Court has original jurisdiction over this lawsuit

pursuant to 28 U.S.C. § 1331, as it appears on the face of Plaintiffs’ complaint that this cause of

action arises under the Constitution and the laws of the United States. Removal is proper under 28

U.S.C. § 1441.
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         Only Defendants Texas Department of Public Safety, Veronica Gideon, Elias Escalon,

Nathan Mutz, and Drew Pilkington have been served properly in this case at this time. This

removal is being filed with this Court because it is in the district and division embracing the place

where the state action is pending, Bexar County, Texas, as required by 28 U.S.C. § 1441(a). No

motions are pending in the state court. Motions to dismiss and answers are being filed with the

removal

         Plaintiff is being served with copies of all pleadings associated with Defendants Notice of

Removal. A copy of this notice of removal will be filed in the 407th Judicial District Court of

Bexar County, Texas.

         Defendants advise the Court that this removal complies 28 U.S.C. § 1446. In support of

this notice of removal, Defendants have attached all State Court filings, including the State Court

Docket Sheet and an Index of the Filings as exhibits.

         Plaintiffs are represented by Okwudili Onyekwelu, Texas Bar No. 24110867 and Damion

Millington, Texas Bar No. 24111178, both at The Lewis Group, P.O. Box 27353, Houston, Texas

77227,     ph.     713-570-6555,    fax    713-581-1017,     oonyekwelu@thelewislaw.com          and

dmillington@thelewislaw.com

         Defendants Texas Department of Public Safety, Veronica Gideon, Elias Escalon, Nathan

Mutz, and Drew Pilkington are represented by Seth Byron Dennis, Assistant Attorney General,

Texas Bar No. 00790580, and Briana Webb, Texas Bar No. 24077883, both at P.O. Box 12548,

Austin, Texas, 78711, ph. 512-463-2080, fax 512-495-9139, Seth.Dennis@oag.texas.gov and

Briana.Webb@oag.texas.gov

         Defendants respectfully pray that this cause be removed to the United States District Court

for the Western District of Texas, San Antonio Division, pursuant to 28 U.S.C. § 1441.
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                           Respectfully submitted,
                           KEN PAXTON
                           Attorney General of Texas

                           JEFFREY C. MATEER
                           First Assistant Attorney General

                           DARREN L. MCCARTY
                           Deputy Attorney General for Civil
                           Litigation

                           SHANNA E. MOLINARE
                           Chief, Law Enforcement Defense Division

                           /s/ Seth Byron Dennis
                           SETH BYRON DENNIS
                           Attorney-in-Charge
                           Assistant Attorney General
                           Texas State Bar No. 00790580
                           Seth.dennis@oag.texas.gov
                           Attorney in Charge

                           /s/ Briana M. Webb
                           BRIANA M. WEBB
                           Assistant Attorney General
                           Texas State Bar No. 24077883
                           Briana.webb@oag.texas.gov

                           Law Enforcement Defense Division
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                           P. O. Box 12548, Capitol Station
                           Austin, Texas 78711
                           (512) 463-2080 / Fax No. (512) 370-9814

                           Attorneys for the Defendants
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                                   Notice of Electronic Filing

       I, Seth Byron Dennis, Assistant General of Texas, do hereby certify that I have

electronically submitted for filing, a true and correct copy of the above and foregoing Defendants’

Notice of Removal in accordance with the Electronic Case Files System of the Western District

of Texas, on this the 13th day of April, 2020.

                                                 /s/ Seth Byron Dennis
                                                 SETH BYRON DENNIS
                                                 Assistant Attorney General

                                      Certificate of Service
       I, Seth Byron Dennis, Assistant Attorney General of Texas, do hereby certify that a true

and correct copy of the above and foregoing Defendants’ Notice of Removal has been served by

email on this 13th day of April, 2020, addressed to Plaintiffs’ Counsel Okwudili Onyekwelu at

oonyekwelu@thelewislaw.com and Damion Millington at dmillington@thelewislaw.com

                                                 /s/ Seth Byron Dennis
                                                 SETH BYRON DENNIS
                                                 Assistant Attorney General
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                                 In the United States District Court
                                  for the Western District of Texas
                                        San Antonio Division

Estate of Amelia H. Macias, et al,               §
        Plaintiffs                               §
                                                 §
v.                                               §    Civil Action No. 5:20-cv-____
                                                 §
Texas Dept. of Adult Protective Serv., et al.    §
      Defendants.                                §    Jury

             Exhibit 1:    All State Court Filings, Docket Sheet and Index of Filings

-Plaintiffs’ Original Petition

-Citations

-Returns of Service

-Notice of Removal

-State Court Docket Sheet
